10/21/2020       Case: 1:22-cv-03861 Document #: 11-18  Filed:
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     Fwd: Cook County Jail

     From: Dr. Fred Nance Jr. (drfred.nancejr@gmail.com)

     To:       frednance@clickservices.org

     Date: Wednesday, October 21, 2020, 01:09 PM CDT




     ---------- Forwarded message ---------
     From: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
     Date: Wed, Sep 2, 2020 at 3:58 PM
     Subject: Re: Cook County Jail
     To: Daniel Jean <daniel_jean716@yahoo.com>


     I sent a request out to Alicia and Serita to find out what day and time is good for them to have a Skype meeting next
     week. I informed Sheriff Howard you and I need new IDs. He will get back to me on a date and time. The jail's
     recruitment will be as follows: "CCDOC will continue the same strategy for EMAGES program recruitment, which
     includes list generation through our research department paired with in-person interviewing. Please note, all participants
     must be housed on the same living unit inside the division and co-mixing is NOT permitted." As of today, there are 4
     participants on 2A or 2D in Division 6. We can choose what tier we want.

     On Wed, Sep 2, 2020 at 3:37 PM Daniel Jean <daniel_jean716@yahoo.com> wrote:
      We need to have a meeting with them next week to discuss where we need to start from in relation to the modules,
      and the strategies to catch up with the other groups. By the way, did you get a date and time for us to renew our
      identification? Did you discuss with them the strategies for recruitment of new participants?

       Thanks,

       Daniel


             On Wednesday, September 2, 2020, 03:27:44 PM CDT, Dr. Fred Nance Jr. <drfred.nancejr@gmail.com> wrote:


             Daniel:

             Good afternoon. The Cook County jail has contacted me with a start date. We will be going back to the jail on
             September 18, 2020 from 4:00 pm to 5:00 pm. I have contacted Serita and Alicia. Both agreed to work in the jail.
             You and I will have to take pictures again because our identifications expired on August 31, 2020. The jail will issue
             letters of entry for Alicia and Serita. What do you believe Alicia and Serita need before starting back in the jail?

             --
             /s/Dr. Fred Nance Jr., Ph.D.
             Human Services/Social Policy Analysis
             Program and Policy Development
             708-921-1395


     --
     /s/Dr. Fred Nance Jr., Ph.D.
     Human Services/Social Policy Analysis
     Program and Policy Development
     708-921-1395


     --
     /s/Dr. Fred Nance Jr., Ph.D.


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